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                   IN THE UNITED STATES DISTRICT COURT
                  FOR THE SOUTHERN DISTRICT OF GEORGIA
                            SAVANNAH DIVISION

 ROBERTO BARRERO

                                                     CV 415-318
                                                     CR 413-121
 UNITED STATES OF AMERICA

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        After an independent review of the record, the Court concurs with the Magistrate

 Judge's Report and Recommendation, to which no objections have been filed.

 Accordingly, the Report and Recommendation of the Magistrate Jugs adopted as the

 opinion of the Court. The Clerk is ordered to close this c

        So ORDERED, this         I \ da6Fii1,'M


                               LISA GOD,BFY WOOD, CHIEF JUDGE
                               UNflETATES DISTRICT COURT
                               SOUTHERN DISTRICT OF GEORGIA
